Case 5:16-cv-00370-RCL Document 1 Filed 04/13/16 Page 1 of 6

THE UNITED STATES DISTRICT COURT
THE WESTER_N DISTRICT OF TEXAS

SAN ANTONIO DIVISION

BRENDA H. SOLIZ, bidividually and as §
Representative Of the Estate cf TOMAS §
FLORES SOLIZ, JR. §
Plai.ntiff, §

VS. § CIVIL NO. SA-lG-CV-370
§
THE UNITED STATES OF AMERICA, §
§
Dei`endant. §

PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

Now comes, BRENDA H. SOLIZ, Individualiy, and as Representative of the Estate of

TOMAS FLORES SOLIZ, IR., hereinafter referred to as Plaintif;t` in the above styled and

numbered cause, complaining of the UNITED STATES OF AMERICA, hereinaHer referred

to as Defendant, and i"or cause of action Would respectfully show unto the Court as follows:

JURISDICTION
1. J`urisdiction in this case is founded on the Federal Tort Claiins Act, Title 28 U.S.C.
§1346([)), and 28 U.S.C. §1367. The amount iri controversy exceeds the sum of $100,000.00,
exclusive of interest, costs, and attorneys fees.
VENUE

2. Plaintiff, BRENDA H. SOLIZ, is a resident/citizen of San Antonio, Bexar County, Texas.
3. Each of the relevant acts complained of occurred in San Aiitonio, Bexar County, Texas,
within the San Anto.nio Division of the United States District Court for the Western district of

Texas.

Case 5:16-cv-00370-RCL Document 1 Filed 04/13/16 Page 2 of 6

ADMINISTRATIV"E CLAIMS
5. Plai.ntiff, BRENDA H. SOLIZ, Individually and As Representative of the Estate of
TOMAS FLORES SOLIZ, .l`R., Deceased, has filed her original Claims for Damages With the
Department of the Anny, Brooke Army Medical Center, Fort Saln Houston, Texas, and the
Departrnent of the Air Force, Randolph Air Force .Base, Texas, which vvere received by the
Departments of the Anny and Air Force on August 20 and 21, 20} 5, respectively, more than six
(6) months prior to the filing of this Original Coinplaint. The Departinents of the Aimy and Air
Force have not denied the Plaintiff’s claiins; however, the investigative six (6) month period has
expired as ofFebruary 21, 2016.
SERVICE
6. Service of citation may be had upon the Defendant, UNITED STATES OF AMERICA,
by sewing its agent, Richard L. Durbin, United States Attorney for the Western Distriet of
Texas, at his office located at 601 NW Loop 410, San Antonio, Bexar County, Texas 78216, and
by sending a true and correct copy of this Complaint by Certit'ied Mail, Restricted Delivery, to
The Honorable Loretta Lyneh, Attorney Generai of the United States, The Department of Justice,
lOth and Constitution N.W., Room B-l 12, Washington, D.C. 20530.
AGENCY

7. The Defendant, UNITED STATES OF AMERICA, acting by and through its agents,
servants and/or employees of the Department the Army, owns and operates the Brooke Arrny
Medical Center located at Fort Sam Houston, Bexar County, Texas, and owns and operates the
Randolph Air Force Base Clinic, Randolph Air Force Base, Bexar County, Texas. Said facilities

provides healthcare services t`or persons such as TOMAS FLORES -S-OL-IZ, IR.

Case 5:16-cv-00370-RCL Document 1 Filed 04/13/16 Page 3 of 6

FACTUAL BACKGROUNI)

8. TOMAS FLORES SOLIZ, JR., was a 43 year old man who was born on .lanuary 30,
1972, and who died on March l7, 2015. On March 12, 2015, TOMAS FLORES SOLIZ, JR., was
taken to the Brooke Army Medical Center Emergency Room complaining of “the worst
headache he’d ever had”. I-lis chief complaint Was noted to be an acute severe headache with
nausea/vomiting and dizziness Additionally, his blood pressure was elevated periodically while
he was in the Emergency Room. Altliough Mr. SOLIZ had a history of mi graines, he informed
his health care providers that this headache was different and much worse from his previous
migraines. He gave an additional history of having been sleeping, and was awakened by a severe
headache. The medical records indicate that Mr. SOLIZ reported that he was a daily smoker,
drank several alcoholic beverages each Week, and had a history of sleep apnea. The differential
diagnosis in the Brooke Arrny Medical Center Emergency Room was “subarachnoid
hemorrhage v. migraine v. meningitis”. Laboratory worl<, including a lumbar puncture, and a
head CT without contrast were ordered and obtained Subsequently, Mr. SOLIZ was treated with
IV hydration and pain/nausea medications, and he was then discharged to his home without a
follow~up appointment or referral

9. On March 16, 2015, Mr. SOLIZ was seen at the Randolph Air Force Base Clinic again
complaining of another extremely severe headache, which he had attempted to treat with Motrin
and Phenergan. His previous Ernergency Room work up was reviewed, and it was noted that his
CSF proteins was 258, hemoglobin 12.9, and his WBC Was ll.6 with elevated lymphocytes. A
neurology referral Was placed, but Mr. SOLIZ was again discharged to his home Without any

further treatment or referrals

Case 5:16-cv-00370-RCL Document 1 Filed 04/13/16 Page 4 of 6

10. On March 17, 2015, Mr. SOLIZ died at his home from a previously undiagnosed
subarachnoid hemorrhage, caused by a ruptured cerebral aneurysm
NEGLIGENT AC'I`S AND/OR OMISSIONS

11. Plaintiff, BRENDA H. SOLIZ, lndividually and as Representative of the Estate of
TOMAS FLORES SOLIZ, JR., Deceased, would show that the Defendant, UNITED STATES
OF AMERICA, acting by and through its agents, servants and/or employees at Brooke Army
Medical Center, and the Randolph Air force Base Clinic, was negligent in the healthcare and
treatment provided to TOMAS FLORES SOLIZ, .TR., and that such negligence was a direct and
proximate cause of his death and the injuries and damages suffered by the Plaintiff herein. Such
negligent acts and/or omissions include, but are not limited to the following:

(A) Failure to timeiy diagnose, refer, hospitalize, and/or treat TOMAS FLORES

SOLIZ, JRs’, subarachnoid hemorrhage caused by a ruptured cerebral

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{B) Failing to act as physicians and healthcare providers of ordinary prudence
would have acted under the same or similar circumstances

12. Each and all of the above foregoing acts of the Defendant, both of omission and
cominission, were negligent and constituted negligence, and each and all were a proximate cause
of the injuries and damages sustained by the Plaintift` herein.
DAMAGES

13. Plaintiff, BRENDA H. SOLIZ, in her individual capacity, would show that the negligent
acts and/or omissions of the Defendant were a direct and proximate cause of the injuries and
damages resulting from the premature death of TOMAS FLORES SOLIZ, .TR. Plaintiff seeks to
recover her pecuniary loss in t_he_pa_st, and the_pecunia_ry loss that, in reasonable probability, will
be sustained in the future Plaintiff, in her individual capacity, also seeks to recover her loss of

companionship and society sustained in the past, and the loss of companionship and society that,

Case 5:16-cv-00370-RCL Document 1 Filed 04/13/16 Page 5 of 6

in a reasonable probability, will be sustained in the future Plaintiff, in her individual capacity,
seeks to recover her mental anguish sustained in the past, and the mental anguish that, in
reasonable probability, will be sustain in the future. Plaintiff, in her individual capacity, also
seeks to recover all medical expenses she incurred, and will, in a reasonable probability, continue
to incur, and for her loss of inheritance, together with all other damages allowable, pursuant to
provisions of the Texas Wrongful Deatb Statute.
14. Plaintiff, BRENDA H. SOLIZ, as Representative of the Estate of TOMAS FLORES
SOLIZ, J`R., Deceased, seeks to recover for his physical pain and mental anguish that he
sustained between March 12, 2015 and his death on March 17, 20l5. Plaintiff, BRENDA H.
SOLIZ, as Representative of the Estate of TOMAS FLORES SOLIZ, JR., Deceased, also seeks
to recover all medical and funeral expenses of TOMAS FLORES SOLIZ, JR., Deceased,
together with all other damages allowable, pursuant to provisions of the Texas Survival Statute.
DAMAGE LIMITATIONS
15. Plaintiff believes and alleges that the damages caused by the negligent acts of omissions
and/or commissions of the Defendant, has injured the Plaintiff in an amount within the
jurisdictional limits of this Court.
16. WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Defendant herein be
duly cited to appear and answer herein, and that upon final heating of this suit, Plaintiff have and
recover judgment from the Defendants, in an amount within the jurisdictional limits of this
Court, together with post-judgment interest as allowed by law, plus reasonable costs of Court,
and for such other and further relief, both general and special, in law and equity, to which the

Plaintiff may-show- herself to be justly-entitled-. l l l

Case 5:16-cv-00370-RCL Document 1 Filed 04/13/16 Page 6 of 6

Respectfully submitted,

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